     Case 2:20-cv-02956-AB-AS Document 39 Filed 01/12/21 Page 1 of 1 Page ID #:397




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8                             UNITED STATES DISTRICT COURT

9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
      KRISTINA SEMERJYAN, an individual; Case No.: 2:20-CV-02956-AFM
11
12               Plaintiff,                            PROPOSED JUDGMENT
13        vs.
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      SERVICE EMPLOYEES
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      INTERNATIONAL UNION LOCAL
16    2015¸ et al.;
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                 Defendants.
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           Pursuant to the Court’s September 25, 2020 Order Granting Defendants’ Motions
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     to Dismiss (ECF No. 36),
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           IT IS HEREBY ADJUDGED that Plaintiff’s federal claims are dismissed with
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     prejudice and Plaintiff’s state law claims are dismissed without prejudice to refiling in the
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     appropriate state court, and JUDGMENT IS HEREBY ENTERED in favor of Defendants
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     SEIU Local 2015, Attorney General Xavier Becerra, and State Controller Betty Yee, and
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     against Plaintiff Kristina Semerjyan.
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26
     Dated:_January 12, 2021                       __________________________
27
                                                         André Birotte Jr.
28                                                 United States District Judge

                                                   1
                                               Judgment
